     Case 3:23-cv-10385-TKW-ZCB Document 55 Filed 12/05/23 Page 1 of 3




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                          PENSACOLA DIVISION

PEN AMERICAN CENTER, INC.,
et al.,

       Plaintiffs,

v.                                             Case No. 3:23cv10385-TKW-ZCB

ESCAMBIA COUNTY SCHOOL
BOARD,

      Defendant.
_________________________________/

                                       ORDER

      The Court finds based on its review of the parties’ and amici’s briefs that oral

argument will be helpful in resolving Defendant’s motion to dismiss. Accordingly,

pursuant to Local Rule 7.1(K), it is

      ORDERED that:

      1.     Plaintiffs’ request for oral argument (see Doc. 40 at 50) is GRANTED.

      2.     Within 7 days from the date of this Order, the parties shall confer and

file a notice identifying several mutually agreeable dates and times during December

2023 and January 2024 for an in-person oral argument in Pensacola, Florida. Ninety

minutes—45 minutes per side—will be reserved for the oral argument.
      Case 3:23-cv-10385-TKW-ZCB Document 55 Filed 12/05/23 Page 2 of 3




       3.      At the oral argument, in addition to the issues raised in the briefs, 1 the

parties shall be prepared to discuss:

               a.      whether the new legislative mandate in §1006.28(2)(a)2., Fla.

       Stat. (2023), that books subject to certain objections “must … remain

       unavailable … until the objection is resolved” applies to the restricted books

       at issue in this case, and if so, how that impacts Plaintiffs’ claims related to

       those books and/or the Court’s authority to grant the relief requested by

       Plaintiffs in the amended complaint;

               b.      whether Defendant’s new policy 4.06.10.A.4.b. impacted the

       status of the books that were allegedly restricted based on HB 1557 objections

       rather than pornography/§847.012/sexual conduct objections, and if so, how

       that impacts the claims related to those books;

               c.      what framework the Court should use to evaluate the legal

       sufficiency of the First Amendment claims (e.g., Pico, Hazelwood, nonpublic


       1
           To better focus the oral argument, the Court notes that, at this point, it is not persuaded
by Defendant’s arguments that the amended complaint is an impermissible shotgun pleading, that
Plaintiffs have not alleged sufficient facts to establish their standing, that the special magistrate
process in §1006.28(2)(a)6., Fla. Stat., has any bearing on this case, or that the decision to remove
a book from the school library is “government speech” that is not subject to any constitutional
constraints. Additionally, at this point, the Court is not persuaded that Plaintiffs have asserted a
plausible equal protection claim because the amended complaint alleges discrimination against
books based on their content (rather than discrimination against individuals in a discrete protected
class) and it is hard to see how an inference of intentional, animus-based discrimination by
Defendant against a discrete protected class of individuals can be drawn from the allegations in
the amended complaint. The parties will have an opportunity to change the Court’s mind on these
issues at oral argument, although they may be better served by spending their limited argument
time on the other issues in the briefs and this Order.

                                                  2
      Case 3:23-cv-10385-TKW-ZCB Document 55 Filed 12/05/23 Page 3 of 3




       forum, or something else) if it determines that Defendant’s book

       removal/restriction decisions are not government speech; and

               d.      whether students are allowed to access restricted books with

       parental permission pending review of the objection, 2 and if so, whether that

       has any impact on the claims related to those books.

       DONE and ORDERED this 5th day of December, 2023.




                                              __________________________________
                                              T. KENT WETHERELL, II
                                              UNITED STATES DISTRICT JUDGE




       2
           The new policy does not directly speak to this issue, but the Court takes judicial notice
that there is a form on Defendant’s website that says its purpose is to give parents “the opportunity
to opt-in … if they wish for their students to have access to titles housed in the Restricted Access
Section [of the library] as they are being reviewed.” Parent/Guardian Permission for Student to
Access a Restricted Title, https://docs.google.com/document/d/1PH6WRNROykIOiXmYvaJf
ABC6XmFNc6O4wYnf _AcSZV0/edit (last visited Dec. 5, 2023).

                                                 3
